        1:20-cv-01012-JES-JEH # 15           Page 1 of 9                                                      E-FILED
                                                                      Tuesday, 21 April, 2020 03:11:10 PM
                                                                            Clerk, U.S. District Court, ILCD

                        THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 PEORIA DIVISION


BONNIE MOSLEY, on behalf of                     )
herself and all others similarly situated,      )
                                                )
                               Plaintiff,       )   Case No. 1:20-CV-01012-JES-JEH
                                                )
       v.                                       )   Honorable James E. Shadid
                                                )   Magistrate Judge Jonathan E. Hawley
GENERAL REVENUE CORPORATION,                    )
                                                )
                               Defendant.       )
                                                )

                  DEFENDANT GENERAL REVENUE CORPORATION’S
                         MOTION TO STAY DISCOVERY

       Defendant General Revenue Corporation (“GRC”), by and through its counsel, respectfully

moves this Court to stay discovery pending the outcome of GRC’s Motion to Dismiss (ECF No.

10) and the Memorandum in Support thereof (ECF No. 11) (collectively, the “Motion to Dismiss”)

the putative class action Complaint filed by Plaintiff Bonnie Mosley (“Mosley”). In support of

this Motion, GRC states as follows:

                                         INTRODUCTION

       GRC requests a brief stay of discovery until the Court decides the pending Motion to

Dismiss. GRC moved to dismiss Mosley’s claim under the Illinois Automatic Telephone Dialers

Act (“ATDA”), 815 ILCS 305 et seq., and one of two parts of her claim under the Telephone

Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, et seq. In response, Mosley did not oppose

dismissal of her ATDA claim but did oppose dismissal of her TCPA claim. GRC requests that the

Court not require the parties to expend resources responding to discovery, which would assuredly

include Plaintiff seeking class wide discovery on all data concerning telephony system(s) used to

place calls to Mosley’s phone number ending in 9013 and on the capacity of the telephony


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        1:20-cv-01012-JES-JEH # 15           Page 2 of 9



system(s) used to place such calls. The need for such discovery and probably other discovery that

Mosley would intend to serve will be mooted if the Court grants GRC’s pending Motion to

Dismiss. The outcome of that motion will substantially impact the scope of discovery in this case.

       Allowing discovery to move forward while GRC’s Motion to Dismiss is pending would be

inefficient. GRC should not have to bear the burden of Mosley’s pleading failures by engaging in

broad, irrelevant, and expensive discovery, including class discovery. A stay of discovery also

will not prejudice Mosley because if GRC’s Motion is denied, Mosley will be entitled to seek

discovery at that time. Mosley cannot claim prejudice from delay where legal holds have been put

in place by GRC to preserve potentially relevant documents and information relating to this case.

       Given these considerations, and as more fully set forth below, the Court should exercise its

discretion under Fed. R. Civ. Pr. 26(c) to stay discovery pending the outcome of GRC’s Motion to

Dismiss.

                                       BACKGROUND

       Mosley asserts two claims and a total of six proposed class definitions on behalf of a

putative class under two separate statutes: the ATDA and TCPA. (ECF No. 1.) Both claims,

according to her counsel, concern alleged calls to a phone number ending in 9013. GRC filed its

Motion to Dismiss on March 9, 2020 seeking to dismiss the ATDA claim in its entirety and the

TCPA claim in part. Mosley does not oppose dismissal of the ATDA claim, but only opposes the

dismissal of the TCPA claim. (ECF No. 12). A scheduling conference has not yet been set by the

Court, and the parties have not yet conducted a Fed. R. Civ. P. 26(f) conference.

       On March 31, 2020, in an attempt to force GRC to participate in a Rule 26(f) conference,

Mosley filed a motion to request a hearing with Magistrate Judge Hawley. (ECF No. 13.) A




                                               -2-
        1:20-cv-01012-JES-JEH # 15               Page 3 of 9



hearing was set, and GRC’s position at the conference was that discovery should be stayed pending

the outcome of the Motion to Dismiss. The Court allowed GRC to file this motion. (ECF No. 14.)


                                        LEGAL STANDARD

        Under Federal Rule of Civil Procedure 26(c), the Court has the discretion to issue an order

regarding discovery “to protect a party or person from annoyance, embarrassment, oppression, or

undue burden or expense.” Fed. R. Civ. P. 26(c)(1); Bell Atl. Corp. v. Twombly, 550 U.S. 544,

559 (2007) (noting the substantial cost of discovery, the Supreme Court reasoned that, “the threat

of discovery expense will push cost-conscious defendants to settle even anemic cases before

reaching those proceedings”). On this basis, district courts have broad discretion in controlling

matters involving discovery. See Crawford-El v. Britton, 523 U.S. 574, 599 (1998); Landis v. N.

Am. Co., 299 U.S. 248, 254-255 (1936) (“The power to stay proceedings is incidental to the power

inherent in every court to control the disposition of the causes on its docket with economy of time

and effort for itself, for counsel, and for litigants.”).

        A stay of discovery is particularly appropriate where the result of a pending dispositive

motion would cause future discovery to become unnecessary or “at the very least, any future

discovery that may be necessary . . . can be done more efficiently.” Mid-Century Ins. Co. v. Pizza

By Marchelloni, No. 117-CV-01214-JBM-JEH, 2018 WL 6267828, at *2 (C.D. Ill. Mar. 21, 2018)

(Hawley, J.) (granting motion to stay discovery while Rule 12(c) motion was pending); United

States v. Supervalu, Inc., No. 11-CV-3290, 2016 WL 3906570, at *2 (C.D. Ill. July 14, 2016)

(granting motion to stay discovery where “the resolution of the Motion to Dismiss [would] clarify

the scope of discovery” and finding “clarification of the issues should enable the parties to resolve

discovery disputes more easily without resorting to the Court.”); Gekas v. Vasiliades, No. 10-3066,

2012 WL 5948679, at *1 (C.D. Ill. Nov. 28, 2012) (staying discovery and finding that the



                                                   -3-
        1:20-cv-01012-JES-JEH # 15           Page 4 of 9



resolution of pending dispositive motion would “clarify the issues for the parties and thereby allow

the parties to conduct any future discovery more efficiently and with less cost.”); Rehrig Pac. Co.

v. Polymer Logistics (Israel), Ltd., No. CV 318-055, 2018 WL 8244007, at *1 (S.D. Ga.

Dec. 6, 2018) (granting motion to stay discovery pending the outcome of partial motions to dismiss

and reasoning that “if Defendants prevail on their motions, the extent and scope of discovery will

likely be narrowed” by dismissal of those portions of the claims).

                                          ARGUMENT

       The Court should exercise its discretion granted in Rule 26(c) to stay discovery pending

resolution of GRC’s Motion to Dismiss. In deciding whether to exercise this discretion, courts

consider the following factors: “(i) whether a stay will unduly prejudice or tactically disadvantage

the non-moving party, (ii) whether a stay will simplify the issues in question and streamline the

trial, and (iii) whether a stay will reduce the burden of litigation on the parties and on the

court.” Netherlands Ins. Co. v. Macomb Cmty. Unit Sch. Dist. No. 185, No. 18-4191, 2019 WL

5417143, at *1 (C.D. Ill. Feb. 5, 2019) (quoting E.E.O.C. v. Fair Oaks Dairy Farms, LLC, 2012

WL 3138108, *2 (N.D. Ind. 2012)).

I.     A Short Stay of Discovery is Appropriate and Will Not Prejudice or Tactically
       Disadvantage Mosley.

       A short stay of discovery until the Court rules on GRC’s Motion to Dismiss will not

prejudice Mosley because she will be entitled to conduct discovery in the event that GRC’s Motion

to Dismiss is denied. No scheduling order has been entered in this case, so there is no discovery

deadline at this time. There also is no meaningful risk that evidence will be lost because a

preservation hold is in place. The relevant call data is being preserved. Mosley’s counsel has



                                               -4-
        1:20-cv-01012-JES-JEH # 15           Page 5 of 9



advised of concerns with preservation of certain documents. Counsel for GRC investigated those

issues and provided more information on the categories at issue to Mosley’s counsel. GRC’s

counsel remains willing to meet and confer further on these issues.

       At the same time, Mosley cannot show any hardship from a stay of discovery while GRC’s

Motion to Dismiss is pending. See, e.g., DSM Desotech Inc. v. 3D Sys. Corp., No. 08 CV 1531,

2008 WL 4812440, at *3 (N.D. Ill. Oct. 28, 2008) (holding that hardship to the plaintiff is present

only when there is a “compelling need for prompt discovery—as there might be if, for example,

provisional relief were being sought or if testimony needed to be preserved due to the ill health of

a witness”). Mosley is not seeking provisional relief. (See ECF No. 1.) The delay sought will not

impact the availability of evidence, in particular because GRC instituted a litigation hold with

respect to this lawsuit. See Miller v. Countrywide Home Loans, No. 2:09-cv-0674, 2010 WL

2246310, at *3 (S.D. Ohio June 4, 2010) (granting motion to stay where “the documents at issue

[were] being preserved” and discovery had “the potential to place a discovery burden on the

defendants”).

       Any burden associated with a brief stay of discovery while the Court considers GRC’s

Motion to Dismiss is entirely self-inflicted, as Mosley filed a deficient complaint against GRC.

II.    A Stay of Discovery Pending the Outcome of GRC’s Motion to Dismiss Will Simplify
       the Issues and Reduce the Burden of Litigation on the Parties and the Court.

       GRC’s Motion to Dismiss seeks dismissal of Mosley’s ATDA claim in its entirety1 and

Mosley’s TCPA claim to the extent it is based on an alleged violation of the prohibition against

calls to cellular telephones using an automatic telephone dialing system “ATDS” without consent.

Recently the United States Court of Appeals for the Seventh Circuit joined the Third and Eleventh



1
  In her Response to GRC’s Motion to Dismiss, Mosley did not oppose GRC’s request to dismiss
the ATDA claim. (See ECF No. 12 at n. 1.)

                                               -5-
        1:20-cv-01012-JES-JEH # 15           Page 6 of 9



Circuits in holding that the definition of ATDS (defined in the statute as “equipment which has the

capacity . . . to store or produce telephone numbers to be called, using a random or sequential

number generator . . . and to dial such numbers”) excludes systems that merely store numbers to

be dialed from a list. 47 U.S.C. § 227(a)(1); GRC’s Supporting Memo. at 7 (ECF No. 11).

Companies engaged in debt collection (which Mosely alleges GRC to be) call specific individuals,

at specific numbers, about specific debts – not random individuals reached through generating

random or sequential numbers. Without a stay of discovery, GRC anticipates Mosley will seek

class-wide discovery on calls made through the telephony system(s) used to call her 9013 number

and about the capabilities of such telephony system(s). This would pose a significant burden for

GRC. Moreover, Mosley would seek discovery concerning the capacity of the telephony system(s)

used to call Mosley’s 9013 number. Both these categories of discovery will be irrelevant if GRC’s

Motion to Dismiss is granted, and four out of six alleged classes would be eliminated (the ATDA

classes and two of the TCPA classes).2

       In her Complaint, Mosley also seeks relief under the TCPA based on alleged violations of

the separate prohibition against calls using a prerecorded or automated voice message without

consent. (See ECF No. 1 at 7; id. ¶¶ 38(b), 48.) GRC denies that it violated that prohibition, but

it did not seek dismissal of Mosley’s TCPA claim on that basis. Discovery over this provision is

much less intensive because calls allegedly made to Mosley either used an “artificial or

prerecorded voice,” or they did not. See 47 U.S.C. § 227(b)(1).        No discovery is needed to

determine the capacities of GRC’s systems for an artificial or prerecorded voice claim, but only

whether such calls were made using an “artificial or prerecorded voice” to the 9013 number.



2
 Mosley alleges six classes in total: two classes are alleged with respect to the ATDA claim, two
classes with respect to the TCPA claim relating to an ATDS, and two classes with respect to the
TCPA claim relating to use of an artificial or prerecorded voice. (ECF No. 1 at 6-7.)

                                               -6-
        1:20-cv-01012-JES-JEH # 15          Page 7 of 9



       Allowing Mosley to conduct class-wide discovery on this claim while GRC’s Motion to

Dismiss is pending would likely result in piecemeal and duplicative discovery efforts in the event

that GRC’s Motion is denied. The Court also may be burdened with unnecessary and irrelevant

discovery disputes over issues that may be fully resolved by the outcome of GRC’s Motion to

Dismiss.

       Moreover, if GRC’s Motion to Dismiss is granted, the only remaining class claim is based

on alleged prerecorded or automated voice calls to the 9013 Number. If it is confirmed that GRC

never called the 9013 number using a prerecorded or automated voice, there may be no need for

class discovery in this case because Mosley cannot represent a class of which she is not a member.

   Accordingly, it would be more efficient and less costly for all parties and the Court to stay

discovery pending the outcome of GRC’s Motion, so that threshold issues in the case can first be

resolved, and discovery can be narrowed.

                                        CONCLUSION

       For the reasons stated herein, GRC respectfully requests that this Court stay discovery

pending the outcome of GRC’s Motion to Dismiss.



Dated: April 21, 2020                               Respectfully submitted,

                                                    REED SMITH LLP
                                                    Attorneys for Defendant General Revenue
                                                    Corporation


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                                              -7-
1:20-cv-01012-JES-JEH # 15   Page 8 of 9



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                              -8-
        1:20-cv-01012-JES-JEH # 15           Page 9 of 9



                                CERTIFICATE OF SERVICE

        I hereby certify that on April 21, 2020 I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to all attorneys
of record.


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                                               -9-
